
PER CURIAM.
Affirmed. See Boyd v. State, 880 So.2d 726 (Fla. 2d DCA), review denied, 888 So.2d 621 (Fla.2004). After this court held in Boyd that a claim of vindictive sentencing is not cognizable in a motion to correct an illegal sentence filed pursuant to Florida Rule of Criminal Procedure 3.800(a), the Fifth District in Johnson v. State, 877 So.2d 795 (Fla. 5th DCA 2004), reversed a circuit court order denying a rule 3.800(a) motion and remanded for consideration of the claim of vindictive sentencing raised in the motion. We certify direct conflict with Johnson.
Affirmed; conflict certified.
KELLY, CANADY, and WALLACE, JJ., Concur.
